Case 4:22-cv-11107-FKB-DRG ECF No. 36, PageID.2623 Filed 07/27/23 Page 1 of 4




              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF MICHIGAN


 JOSHUA MURRAY, individually and on
 behalf of all others similarly situated,   Case No. 2:22-cv-11107-SFC-DRG

                                            Hon. Sean F. Cox
                   Plaintiff,               Mag. David R. Grand

       v.

 NATIONAL ASSOCIATION OF
 REALTORS,

                   Defendant.


      PLAINTIFF’S NOTICE OF SUPPLEMENTAL AUTHORITIES
Case 4:22-cv-11107-FKB-DRG ECF No. 36, PageID.2624 Filed 07/27/23 Page 2 of 4




      Plaintiff, individually and on behalf of all others similarly situated, submits

this Notice of Supplemental Authorities to apprise the Court of a recent decision

relevant to the issues raised in Plaintiff’s response in opposition to Defendant’s

motion to dismiss (ECF No. 33) (“Plaintiff’s Response”):

      1.     Following the filing of Plaintiff’s Response, two courts of the Western

District of Michigan have recently issued opinions denying motions to dismiss

claims for violation of the Michigan PPPA – claims which arose from allegations

similar to Plaintiff’s allegations here.

      2.     On July 7, 2023, the Honorable Hala Y. Jarbou issued a decision

denying the defendant’s motion to dismiss in Gottsleben v. Informa Media, Inc., No.

1:22-cv-866 (W.D. Mich. July 7, 2023), a PPPA action similar to the instant matter.

A copy of the Gottsleben decision is attached hereto as Exhibit A.

      3.     On July 13, 2023, the Honorable Hala Y. Jarbou issued a decision

denying the defendant’s motion to dismiss in Schreiber v. Mayo Foundation for

Medical Education and Research, No. 2:22-cv-188 (W.D. Mich. July 13, 2023), a

PPPA action also similar to the instant matter. A copy of the Schreiber decision is

attached hereto as Exhibit B.


Dated: July 27, 2023                       Respectfully submitted,
                                           /s/ E. Powell Miller
                                           E. Powell Miller (P39487)
                                           THE MILLER LAW FIRM, P.C.
                                           950 W. University Drive, Suite 300

                                             1
Case 4:22-cv-11107-FKB-DRG ECF No. 36, PageID.2625 Filed 07/27/23 Page 3 of 4




                                   Rochester, MI 48307
                                   Tel: 248-841-2200
                                   epm@millerlawpc.com
                                   Joseph I. Marchese
                                   Philip L. Fraietta (P85228)
                                   BURSOR & FISHER, P.A.
                                   1330 Avenue of the Americas
                                   New York, New York 10019
                                   Tel: 646.837.7150
                                   jmarchese@bursor.com
                                   pfraietta@bursor.com
                                   Frank S. Hedin
                                   David W. Hall
                                   HEDIN HALL LLP
                                   1395 Brickell Avenue, Suite 1140
                                   Miami, Florida 33131
                                   Tel: 305.357.2107
                                   fhedin@hedinhall.com
                                   dhall@hedinhall.com
                                   Counsel for Plaintiff and the Putative Class




                                      2
Case 4:22-cv-11107-FKB-DRG ECF No. 36, PageID.2626 Filed 07/27/23 Page 4 of 4




                          CERTIFICATE OF SERVICE

      I hereby certify that on July 27, 2023, I electronically filed the foregoing

documents using the Court’s electronic filing system, which will notify all counsel

of record authorized to receive such filings.


                                       /s/ E. Powell Miller
                                       E. Powell Miller (P39487)
                                       THE MILLER LAW FIRM, P.C.
                                       950 W. University Dr., Ste. 300
                                       Rochester, MI 48307
                                       Tel: (248) 841-2200
                                       epm@millerlawpc.com
